            CASE 0:22-mj-00362-JFD Doc. 10 Filed 05/05/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                        Criminal No. 22-mj-362 (JFD)


UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )
       v.                               )   ORDER FOR DETENTION AND
                                        )   FINDING OF PROBABLE CAUSE
DESMOND DURELLE GRAHAM,                 )
                                        )
                    Defendant.          )



      This matter came before the Court on May 5, 2022, for a hearing on the United

States’ Motion for Detention pursuant to 18 U.S.C. §§ 3142(f) and (g), and a

preliminary hearing on the Government’s Complaint pursuant to Rule 5.1 of the

Federal Rules of Criminal Procedure.

      At the hearing, Defendant Desmond Durelle Graham was present and

represented by Ryan M. Pacyga, Esq. The Government was represented by Harry M.

Jacobs, Assistant United States Attorney.

      Christopher Langert, who is a Special Agent with the Federal Bureau of

Investigation, testified at the hearing regarding the facts and circumstances

surrounding the current allegations against Mr. Graham.

               FINDINGS OF FACT AND CONCLUSIONS OF LAW

      1.     Based on the record before the Court, including the Complaint and the

testimony of Special Agent Langert, and the arguments of counsel, the Court finds

that the Government established probable cause to believe that Mr. Graham
           CASE 0:22-mj-00362-JFD Doc. 10 Filed 05/05/22 Page 2 of 2




committed carjacking in violation of 18 U.S.C. § 2119(1) and kidnapping in violation

of 18 U.S.C. § 1201(a)(1).

      2.     Based on the record before the Court, including Mr. Graham’s waiver,

the nature of the charges, and the recommendation in the bond report, the Court

further finds there is no condition or combination of conditions that would assure the

safety of the community or the appearance of Mr. Graham if he is released pending

trial. However, Mr. Graham reserves his right to a detention hearing in the future.

      3.     Pursuant to 18 U.S.C. § 3142(e), detention is appropriate.

THEREFORE, IT IS HEREBY ORDERED that:

      1.     Pursuant to Rule 5.1(e) of the Federal Rules of Criminal Procedure, Mr.

Graham is required to appear for further proceedings in this matter.

      2.     Mr. Graham is committed to the custody of the United States Marshals

for confinement in a correctional facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

      3.     Mr. Graham shall be afforded reasonable opportunity to consult

privately with his lawyer.

      4.     Upon order of the Court or request by the United States Attorney, the

person in charge of the correctional facility in which Mr. Graham is confined shall

deliver him to the United States Marshal for the purpose of appearance in connection

with all court proceedings.

Dated: May 5, 2022                            ___s/ John F. Docherty_________
                                              The Honorable John F. Docherty
                                              United States Magistrate Judge


                                          2
